          Case 13-15235-JDW                 Doc 79
 Fill in this information to identify the case:
                                                           Filed 01/25/19 Entered 01/25/19 12:57:27                       Desc Main
                                                           Document     Page 1 of 3
 Debtor 1
                       Waymond Nolen

 Debtor 2
 (Spouse, if filing)   Sandra D Nolen

 United States Bankruptcy Court for the: Northern   District of            Mississippi
                                                                           (State)
 Case number           13-15235-JDW




Form 4100R
Response to Notice of Final Cure Payment                                                                                             10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


 Part 1:       Mortgage Information
                                                                                                  Court claim no. (if known):
 Name of Creditor:         Wilmington Savings Fund Society dba Christiana Trust, not              13*
                           individually, but solely as Trustee for NYMT Loan Trust I

 Last 4 digits of any number you use to identify the debtor’s account: XXXXXX1955

 Property address:                       5241 Jason Patrick Road
                                         Number        Street



                                         Senatobia, MS 38668
                                         City               State         ZIP Code

 Part 2:       Prepetition Default Payments
 Check one:
  Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
   on the creditor’s claim
  Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition
   default on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid
                                                                                                                                   $ ________
   as of the date of this response is:

 Part 3:       Post-petition Mortgage Payment
 Check one:
   Creditor states that the debtor(s) are current with all post-petition payments consistent with § 1322(b)(5)
  of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

     The next post-petition payment from the debtor(s) is due on:               02/01/2019
                                                                               MM/DD/YYYY

  Creditor states that the debtor(s) are not current on all post-petition payments consistent with § 1322(b)(5)
     of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

     Creditor asserts that the total amount remaining unpaid as of the date of this response is:
     a. Total post-petition payments due:                                                                       (a)   $
     b.     Total fees, charges, expenses, escrow, and costs outstanding                                       +(b) $
     c.     Total. Add lines a and b                                                                            (c)   $     ______________
                                                                                                                                       ___
     Creditor asserts that the debtor(s) are contractually
     Obligated for the post-petition payment(s) that first became
     Due on:
     *Please note Creditor is in the process of filing a Transfer of                 MM/DD/YYYY
     Claim to reflect Creditor as the Transferee of this Claim.
     However, this Response to Notice of Final Cure is being filed
     to ensure Creditor’s compliance with Fed. R. Bankr. P. 3002.1.



 Form 4100R                                     Response to Notice of Final Cure Payment                                  page 1
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                                                            Document     Page 2 of 3
   Debtor 1           Waymond Nolen                                                                            Case number 13-15235-JDW
                      First Name Middle Name         Last Name


Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
debtor(s) are not current with all post-petition payments, including all fees, charges, expenses, escrow, and costs,
the creditor must attach an itemized payment history disclosing the following amounts from the date of the
bankruptcy filing through the date of this response:
     all payments received;
     all fees, costs, escrow, and expenses assessed to the mortgage; and
     all amounts the creditor contends remain unpaid.




Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim.

Check the appropriate box:
 I am the creditor
 I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.



                      /s/Karen A. Maxcy                                                                     Date    1/25/2019
                      Signature


Print                 Karen A. Maxcy                                                                        Title   Attorney for the Creditor
                      First Name           Middle Name           Last Name



Company               McCalla Raymer Leibert Pierce, LLC


If different from the notice address listed on the proof of claim to which this response applies:



Address               1544 Old Alabama Road
                      Number                Street



                      Roswell, GA 30076
                      City               State            Zip Code


   Contact phone      678-321-6965                                                                  Email      Karen.Maxcy@mccalla.com




Form 4100R                                       Response to Notice of Final Cure Payment                                                 page 2
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                                                               Bankruptcy Case No.:   13-15235-JDW
In Re:       Waymond Nolen                                     Chapter:               13
             Sandra D Nolen
                                                               Judge:                 Jason D. Woodard

                                          CERTIFICATE OF SERVICE

    I, Karen A. Maxcy, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell, GA
    30076, certify:

    That I am, and at all times hereinafter mentioned, was more than 18 years of age;

    That on the date below, I caused to be served a copy of the within Response to Notice of Final Cure
    Payment filed in this bankruptcy matter on the following parties at the addresses shown, by regular United
    States Mail, with proper postage affixed, unless another manner of service is expressly indicated:

Waymond Nolen
5241 Jason Patrick Road
Holly Springs, MS 38635-7554

Sandra D Nolen
5241 Jason Patrick Road
Holly Springs, MS 38635-7554

Karen B. Schneller                              (served via ECF Notification)
P.O. Box 417
Holly Springs, MS 38635

Locke D. Barkley, Trustee                       (served via ECF Notification)
6360 I-55 North
Suite 140
Jackson, MS 39211

U. S. Trustee                                   (served via ECF Notification)
501 East Court Street, Suite 6-430
Jackson, MS 39201

    I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.


Executed on:       1/25/2019      By:      /s/Karen A. Maxcy
                       (date)              Karen A. Maxcy, Mississippi BAR NO. 8869
                                           Attorney for the Creditor




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